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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 20-CV-80888-KAM

 GERARD DRAETTA, and all others
 similarly situated pursuant to
 29 U.S.C. §216(b),

 Plaintiff,

 vs.

 DYCOM INDUSTRIES, INC., a Florida
 corporation,

 Defendant.
 __________________________________/

                                                         ORDER1

            This cause is before the Court upon the parties’ Stipulation to Stay Pending Arbitration2

 (DE 6). The Court has carefully considered the Stipulation and is otherwise fully advised in the

 premises.

            Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

            1)       The case is STAYED pending the conclusion of the arbitration.

            2)       The Clerk shall ADMINISTRATIVELY CLOSE the case and all pending

                     motions are DENIED AS MOOT.

            3)       The Court reserves jurisdiction to enter judgment consistent with that final

                     findings of the American Arbitration Association, upon application to do so by




 1
     Despite the Court’s request and the requirement of the local rules, the parties did not submit a proposed order.
 2
  The stipulation was labeled as a “stipulation to stay pending appeal,” which the Court assumes was a scrivener’s
 error. (emphasis added).

                                                              1
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                either party.

        DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

 Florida, this 16th day of October, 2020.




                                                  KENNETH A. MARRA
                                                  United States District Judge




                                            2
